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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: TARANI A. JOHNSON            :       CIVIL ACTION
                                    :       No. 19-03620


                                    ORDER


    AND NOW, this 14th day of February 2020, following a

telephonic conference on the record with Appellant, Ms. Tarani

Johnson; 1 eviction counsel, Vladimir Mironenko, Esq.; and

foreclosure counsel, Alan Weinreb, Esq.; Ms. Tarani Johnson’s

emergency motion for a temporary restraining order and

preliminary injunction (ECF No. 34) is DENIED for the reasons

set forth on the record.


            AND IT IS SO ORDERED.


                              /s/ Eduardo C. Robreno
                              EDUARDO C. ROBRENO,    J.




1 Also present on the line was Ms. Tarani Johnson’s mother, Ms. Joycelyn P.
Johnson. Ms. Joycelyn P. Johnson did not participate in the conference.
